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VIA CM/ECF

June 30, 2021

The Honorable David T. Schultz
United States District Court
300 South Fourth Street
Minneapolis, MN 55415
schultz_chambers@mnd.uscourts.gov

          RE:        My Pillow, Inc. v. US Dominion, Inc., Case No. 21-cv-01015-PJS-DTS

Judge Schultz:

I write regarding your Order dated June 28, 2021. Under Local Rule 7.1(j), we respectfully request
permission to file a motion to reconsider on two narrow points: (1) requesting clarification of the
Court’s holding on the first-filed doctrine; and (2) modifying the ordered response date until July
13, 2021.

I.        Dominion requests permission to ask the Court to clarify that its treatment of the first-
          filed doctrine does not preclude any first-filed doctrine arguments Dominion will make
          in its motion to dismiss.

The Court denied Dominion’s motion for a stay, and Dominion accepts that ruling. In so holding,
the Court dealt extensively with the first-filed doctrine. The parties did not brief the first-filed
doctrine, and Dominion expressly disclaimed reliance on it at the hearing. Tr. at 9 (“We will bring
a range of motions, as you can imagine, when it's time to present our defenses. Those may
include a motion under the first filed doctrine which does permit a stay as one of the options,
but that's not our motion here today.”) Dominion will be filing a motion to dismiss all claims
against it on numerous grounds, including the first-filed doctrine. Given the Court’s discussion
of the first-filed doctrine, Dominion requests permission to file a brief motion for reconsideration
asking the Court to confirm that its discussion of the first-filed doctrine was not intended to
resolve any first-filed doctrine grounds for Dominion’s upcoming dispositive motion, and nothing
in the Court’s decision precludes Dominion from invoking the first-filed doctrine in support of its




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motion to dismiss. Obtaining this clarification would avoid Dominion having to file an objection
to the Court’s non-dispositive order on the first-filed issue to avoid any waiver arguments.1

II.     Dominion requests permission to ask the Court to modify its response deadline by at
        least one week.

In addition, Dominion requests permission to ask the Court to modify its order by allowing
Dominion to respond on July 13 rather than July 6. Absent an adjustment to the schedule,
many Dominion attorneys will need to cancel long-planned family vacations over the Fourth of
July. Dominion’s motion was premised on avoiding needless briefing, and the Court stayed the
response deadline twice while it considered the motion. Plainly, Dominion’s motion was not
frivolous and would have been well within the Court’s discretion to grant. In such
circumstances—and given the number of family plans over the Fourth of July holiday that
would need to be scuttled—ordering fourteen days (rather than seven) would be reasonable.
Moreover, July 13 is sufficiently ahead of the earliest hearing date available so as not to slow
the progress of the case. Indeed, the Court may decide to hear the motions to dismiss in the
My Pillow and Lindell cases together—as the DC Court did and Dominion will urge given the
heavily overlapping issues of law and fact—and Dominion’s motion to dismiss in the Lindell
matter is due by on August 9.

For these reasons, with deference and respect, Dominion requests that the Court recognize these
as compelling circumstances and grant permission to seek reconsideration on these narrow
grounds.

                                                          Very truly yours,




                                                          John W. Ursu


c:      All Counsel of Record


        1 It seems likely that, absent such clarification, MyPillow will argue that the Court decided
this as a dispositive matter. Shortly after the Court’s ruling, MyPillow’s CEO and founder Mike
Lindell appeared in a radio broadcast in which the radio host interviewing him wrongly
characterized the Court’s ruling as being on “summary judgment” with Lindell’s apparent
agreement. See Steve Bannon’s War Room, June 29, 2021, available at
https://home.frankspeech.com/tv/video/mike-lindell-joins-steve-bannons-war-room-june-29-2021.
(Lindell: “[T]hat judge made a right ruling. He said, ‘We’re not going to take it in our country. You
can keep going after Dominion, MyPillow. You can go after them for what they did to you. What
they did was wrong.’”).

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